8:12-cr-00107-LSC-TDT       Doc # 124    Filed: 07/19/13    Page 1 of 1 - Page ID # 331




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                   )
                                            )                8:12CR107
                    Plaintiff,              )
                                            )
      vs.                                   )                     ORDER
                                            )
TAMMY L. SCHUCK,                            )
TABATHA N. ASHBURN, and                     )
CHRISTOPHER J. TIERNEY,                     )
                                            )
                    Defendants.             )


      Unless specifically requested by a party for good cause, the arraignment on the
Superseding Indictment in this matter (Filing No. 120) shall immediately precede jury
selection or a change of plea hearing, whichever is applicable.


      IT IS SO ORDERED.


      DATED this 19th day of July, 2013.


                                                BY THE COURT:

                                                s/ Thomas D. Thalken
                                                United States Magistrate Judge
